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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 16-CR-20893-MORENO

  UNITED STATES OF AMERICA,

                         Plaintiff,
  vs.

  MONTY RAY GROW,

                         Defendant.
                                           /

  UNITED STATES’ FIRST BILL OF PARTICULARS AS TO CRIMINAL FORFEITURE

         The UNITED STATES OF AMERICA (hereinafter, the “United States”) by this First Bill

  of Particulars as to Criminal Forfeiture, provides more particular notice of additional specific

  property which is subject to criminal forfeiture upon the defendant’s conviction in this case.

         In addition to the specific property listed in the Forfeiture Allegations of the Indictment

  (ECF 3), the United States provides notice to the defendant that the following property is also

  subject to criminal forfeiture in this case as substitute assets pursuant to 21 U.S.C. § 853(p):

         1.      The real property known and numbered as 5242 W. Kennedy Boulevard, Tampa,

  Florida, 33609, together with all buildings, structures, fixtures, appurtenances, improvements,

  attachments and easements found therein or thereon;

         2.      The real property known and numbered as 5224 Hampton Beach Place, Tampa,

  Florida, 33609, together with all buildings, structures, fixtures, appurtenances, improvements,

  attachments and easements found therein or thereon;
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         3.      The real property known and numbered as 5220 Beach Breeze Court, Tampa,

  Florida, 33609, together with all buildings, structures, fixtures, appurtenances, improvements,

  attachments and easements found therein or thereon; and

         4.      The real property known and numbered as 4110 W. Sevilla Street, Tampa, Florida,

  33629, together with all buildings, structures, fixtures, appurtenances, improvements, attachments

  and easements found therein or thereon.

                                                      Respectfully submitted,

                                                      BENJAMIN G. GREENBERG
                                                      ACTING UNITED STATES ATTORNEY

                                               By:    s/Daren Grove
                                                      _______________________________
                                                      Daren Grove (Court No. A5501243)
                                                      Assistant United States Attorney
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                                                      Miami, Florida 33132
                                                      Telephone: (305) 961-9294
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 7, 2017, the undersigned electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF.

                                                      s/Daren Grove
                                                      _______________________________
                                                      Daren Grove
                                                      Assistant United States Attorney




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